UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 In re SEARCH WARRANTS                                              21-MC-425 (JPO)
 EXECUTED ON APRIL 28, 2021
                                                                         ORDER



       J. PAUL OETKEN, United States District Judge:

       The Court has received the letters dated May 12, 2021, by counsel for Rudolph Giuliani

and counsel for Victoria Toensing. Those letters shall be filed under seal pending review for any

necessary redactions. The parties are directed to confer promptly regarding the need for any

redactions. On or before May 14, 2021, counsel shall (1) file redacted versions of the May 12,

2021 letters directly on the public docket if the parties have agreed on all redactions (or

unredacted letters if the parties agree that no redactions are necessary); or (2) submit each party’s

proposed redactions under seal with a letter explaining the party’s position with respect to

redactions.

       The Government’s reply letter shall be submitted under seal on or before May 19, 2021,

and filed publicly on or before May 21, 2021, with any necessary redactions.

       SO ORDERED.

Dated: May 13, 2021
       New York, New York
